         Case 1:18-cr-00218-TSC Document 64 Filed 12/10/18 Page 1 of 1



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                   )
                                            )
              v.                            )       Case No.: 1:18-cr-218 (TSC)
                                            )
MARIIA BUTINA, a/k/a                        )
MARIA BUTINA,                               )
                                            )
       Defendant.                           )
                                            )

                   DEFENDANT MARIA BUTINA’S RESPONSE TO
                DECEMBER 6, 2018 MINUTE ORDER TO SHOW CAUSE

       In response to the court’s December 6, 2018 minute order to show cause, Defendant Maria

Butina, by counsel, pursuant to United States v. Hubbard, 650 F.2d 293, 317-23 (D.C. Cir. 1980),

does not oppose the unsealing of the sealed portion of the joint telephone conference held on the

same date.

Dated: December 10, 2018                    Respectfully submitted,

                                                    /s/
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                                            Alfred D. Carry (DC Bar No. 1011877)
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